Case 3:16-md-02738-MAS-RLS    Document 163     Filed 04/10/17        Page 1 of 18 PageID:
                                    2482



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 CASSANDRA MOORE, et al.,

 Plaintiffs,
                                           MDL No. 3:16-md-02738-FLW-LHG
 v.
                                           Case No. 3:17-cv-02404-FLW-LHG
 JOHNSON & JOHNSON, et al.,

 Defendants.




 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF RENEWED MOTION TO REMAND

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Case 3:16-md-02738-MAS-RLS                        Document 163              Filed 04/10/17             Page 2 of 18 PageID:
                                                        2483



                                                TABLE OF CONTENTS

 INDEX OF AUTHORITIES.......................................................................................................... iii

     I. INTRODUCTION ...............................................................................................................1

     II. PROCEDURAL HISTORY.................................................................................................1

     III. FACTUAL BACKGROUND ..............................................................................................2

     IV. ARGUMENT

          A. STANDARD OF REVIEW...................................................................................................4

          B. THIS COURT HAS HELD THAT FRAUDULENT MISJOINDER SHOULD BE RESOLVED BY THE
             STATE COURT AS A MATTER OF REMOVAL JURISPRUDENCE…………………………...5

          C. MISSOURI STATE COURTS HAVE CONCLUDED THAT THE JOINDER OF MULTIPLE
             PLAINTIFFS IN CASES INVOLVING THE SAME PRODUCTS AND DEFENDANTS AT ISSUE
             HEREIN IS PROPER……………………………………………………………………..7

          D. JUDGES OF THE EASTERN DISTRICT OF MISSOURI AND THE EIGHTH CIRCUIT HAVE
             CONSISTENTLY DECLINED ADOPTION OF “FRAUDULENT MISJOINDER”……………….8

          E. THIS COURT SHOULD DECLINE CONSIDERATION OF DEFENDANTS’ PERSONAL
             JURISDICTION ARGUMENTS AS THE SUBJECT MATTER JURISDICTION ANALYSIS IS
             STRAIGHT FORWARD…………………………………………………………………12

     V. CONCLUSION………………………………………………………………………….13


 CERTIFICATE OF SERVICE ......................................................................................................14




                                                                 ii
Case 3:16-md-02738-MAS-RLS        Document 163      Filed 04/10/17    Page 3 of 18 PageID:
                                        2484



                               INDEX OF AUTHORITIES

 Case(s)

 Barron, et al., v. Abbott Labs., Inc.,
 No. ED103508 (Mo. Ct. App. Nov. 8, 2016)…………………………………………………….8

 Farrar v. Johnson & Johnson,
 No. 1422-CC09964-01 (22nd Cir. Ct. Mo. May 4, 2015)……………………………………...6-7

 Hogans v. Johnson & Johnson,
 No. 1422-CC09012-01 (22nd Cir. Ct. Mo. Mar. 17, 2015)…………………………………….6-7

 Hogans v. Johnson & Johnson,
 No. 4:14-cv-1385, 2014 WL 4749162, at *3 (E.D. Mo. Sept. 24, 2014) (Hamilton, J.)………...11

 In re Paulsboro Derailment Cases,
 No. 13–5583, 2014 WL 197818 (D.N.J. Jan.13, 2014)…………………………………………...5

 In re Plavix Product Liability and Marketing Litigation,
 MDL No. 3:13-cv-2418-FLW, 2014 WL 4954654 (D.N.J. Oct. 1, 2014) (Wolfson, J.)…….5-6, 8

 In re Prempro Prods. Liab. Litig.,
 591 F.3d 613, 623-24 (8th Cir. 2010)…………………………………………………….……8-11

 Johnson v. SmithKline Beecham Corp.,
 724 F.3d 337 (3d Cir. 2013)……………………………………………………………………….4

 Matthews v. Fresenius Med. Care N. Am., Inc.,
 No. 4:14-cv-979-JAR, 2014 WL 3579941 (E.D. Mo. July 21, 2014) (Ross, J.)…………….......10

 PAS v. Travelers Ins. Co.,
 7 F.3d 349 (3d Cir. 1993)………………………………………………………………………….4

 Prudential Ins. Co. of Am. v. Barclays Bank PLC,
  No. 12–5854, 2013 WL 221995 (D.N.J. Jan. 22,
 2013)………………………………………………………………………………………………5

 Reuter v. Medtronics, Inc.,
 No. 10–3019, 2010 WL 4628439 (D.N.J. Nov.5, 2010)………………………………………….6

  Ruhrgas AG v. Marathon Oil Co.,
 526 U.S. 574, 583-84 (1999)……………………………………………………………...……..12

 Samuel-Bassett v. KIA Motors Am., Inc.,
  357 F.3d 392 (3d Cir. 2004)………………………………………………………………………4


                                            iii
Case 3:16-md-02738-MAS-RLS     Document 163    Filed 04/10/17   Page 4 of 18 PageID:
                                     2485



 Timms v. Johnson & Johnson,
 No. 4:16-cv-00733, 2016 WL 3667982 (E.D. Mo. July 11, 2016)…………………………..….12

 West Virginia v. Bristol Myers Squibb Co.,
 No. 13-cv-1603-FLW, 2014 WL 793569 (D.N.J. Feb. 26, 2014) (Wolfson, J.)………………….4

 Statute(s)

 28 U.S.C. § 1441(a)………………………………………………………………….………..…..4
 .
 28 U.S.C. § 1447(c)……………………………………………………………………….…...….4

 28 U.S.C. § 1332(a)……………………………………………………………………….……....4

 FED. R. CIV. P. 20…………………………………………………………………………….…....9

 Missouri Rule of Civil Procedure 52.05(a)…………………………………………………….….7




                                        iv
Case 3:16-md-02738-MAS-RLS                   Document 163            Filed 04/10/17         Page 5 of 18 PageID:
                                                   2486



                                             I.       INTRODUCTION

          Plaintiffs1 in the above-titled action respectfully file their Memorandum in Support of

 Renewed Motion to Remand, pursuant to Case Management Order No. 1. Plaintiffs request that

 this Court transfer this action to the Eastern District of Missouri for the purpose of remanding it

 to the Twenty-Second Judicial Circuit, St. Louis City, Missouri. In support, Plaintiffs state as

 follows:

                                       II.        PROCEDURAL HISTORY

          On December 8, 2016, Defendants Johnson & Johnson (“J&J”) and Johnson & Johnson

 Consumer Companies, Inc. (“JJCI”), (collectively, the “Johnson & Johnson Defendants”)

 removed this case to the Eastern District of Missouri (Doc. 1). The Judicial Panel on

 Multidistrict Litigation transferred this action to this Court on April 6, 2017, as part of the In re

 Talcum Powder MDL (Doc. 38).

          The Johnson & Johnson Defendants allege diversity of citizenship pursuant to 28 U.S.C.

 § 1332(a), as their basis for removal. Plaintiffs are citizens of Alabama, Arizona, California,

 Connecticut, Delaware, the District of Columbia, Georgia, Idaho, Illinois, Indiana, Kentucky,

 Louisiana, Maryland, Massachusetts, Mississippi, Missouri, Nevada, New Jersey, New Mexico,

 North Carolina, Ohio, Oregon, Pennsylvania, Tennessee, Texas, Washington, and Wisconsin,

 (See Doc. 1, ¶¶ 25-45; 13, ¶¶ 2-75; 13-1, at ¶¶ 3-56). The Johnson & Johnson Defendants are

 citizens of New Jersey. Defendant Imerys Talc America f/k/a Luzenac America, Inc. (“Imerys

 Talc”) is a citizen of Delaware and California (Doc. 1, ¶¶ 46-48). Thus, complete diversity is

 lacking on the face of the Amended Petition, as the Plaintiffs that are citizens of Delaware,

 California and New Jersey share citizenship with the Defendants.
 1
  Plaintiffs in this action are the users of J&J’s Products or the representatives thereof. For ease of reference, this
 Response refers to all Plaintiffs as the users of J&J’s Products.


                                                           1
Case 3:16-md-02738-MAS-RLS               Document 163      Filed 04/10/17      Page 6 of 18 PageID:
                                               2487



           Despite this facial lack of complete diversity, the Johnson & Johnson Defendants allege

 that federal subject matter jurisdiction exists because the claims of the non-resident Plaintiffs are

 improperly joined as there is no personal jurisdiction over the Defendants in regards to the non-

 resident Plaintiffs’ claims and the parameters of FEDERAL RULE OF CIVIL PROCEDURE 20 are not

 satisfied; thus, the claims of the non-resident Plaintiffs should be dismissed to create diversity

 (See Doc. 1).

                                  III.    FACTUAL BACKGROUND

           At all relevant times, Defendants were engaged in the research, development,

 manufacture, design, testing, sale and marketing of talcum powder and/or the talcum powder

 based products, Johnson & Johnson Baby Powder and Shower to Shower (hereinafter “the

 PRODUCTS”), and introduced such products into interstate commerce with knowledge and

 intent that such products be sold in the States of Alabama, Arizona, California, Connecticut,

 Delaware, the District of Columbia, Georgia, Idaho, Illinois, Indiana, Kentucky, Louisiana,

 Maryland, Massachusetts, Mississippi, Missouri, Nevada, New Jersey, New Mexico, North

 Carolina, Ohio, Oregon, Pennsylvania, Tennessee, Texas, Washington, Wisconsin, and all other

 States.

           Plaintiffs jointly allege state law claims against Defendants for injuries suffered as a

 direct result of Plaintiffs’ perineal use of the PRODUCTS. Specifically, Plaintiffs allege, among

 other things, the PRODUCTS: when put to a reasonably foreseeable use, were in an

 unreasonably dangerous and defective condition because they failed to contain adequate and

 proper warnings and/or instructions regarding the increased risk of ovarian cancer associated

 with the use of the PRODUCTS by women to powder their perineal area; were defective because

 they failed to conform to express factual representations upon which Plaintiffs justifiably relied



                                                  2
Case 3:16-md-02738-MAS-RLS            Document 163        Filed 04/10/17      Page 7 of 18 PageID:
                                            2488



 in electing to use the products; did not meet the standard of merchantable quality, safe for the use

 in the perineal area, for which the PRODUCTS were intended; and were not fit for their

 common, ordinary and intended uses, including by women in the perineal area.

        It is further alleged Defendants: failed to properly and adequately warn and instruct

 Plaintiffs as to the risks and benefits of the PRODUCTS given Plaintiffs’ need for this

 information; knew or should have known the use of talcum powder based products in the

 perineal area significantly increases the risk of ovarian cancer based upon scientific knowledge

 dating back to the 1960s, while also knowing warnings were not provided to consumers of the

 PRODUCTS; failed to properly test their products to determine adequacy and effectiveness or

 safety measures, if any, prior to releasing the PRODUCTS for consumer use, thereby failing to

 determine the increased risk of ovarian cancer during the normal and/or intended use of the

 PRODUCTS; failed to inform users of the safe and proper methods of handling and using the

 PRODUCTS; failed to remove the PRODUCTS from the market when the Defendants knew or

 should have known the PRODUCTS were defective; failed to instruct the public in general and

 the Plaintiffs in particular of the known dangers of using the PRODUCTS for dusting the

 perineum; failed to advise users how to prevent or reduce exposure that caused increased risk for

 ovarian cancer; marketed and labeled the PRODUCTS as safe for all uses despite knowledge to

 the contrary; failed to act like reasonably prudent companies under the circumstances; conspired

 and acted in concert among themselves to cause Plaintiffs’ injuries by exposing the Plaintiffs to

 harmful and dangerous PRODUCTS by depriving the Plaintiffs the opportunity of informed free

 choice as to whether to use the PRODUCTS or expose her to said dangers through willful

 misrepresentation and suppression of the truth as to the risks and dangers associated with the use

 of and exposure to the PRODUCTS; and acted willfully, wantonly, with an evil motive, and with



                                                  3
Case 3:16-md-02738-MAS-RLS             Document 163        Filed 04/10/17      Page 8 of 18 PageID:
                                             2489



 reckless disregard by knowingly exposing Plaintiffs to an unreasonably high risk of ovarian

 cancer, while affirmatively minimizing the risk through marketing and promotional efforts and

 product labeling.

        As noted above, complete diversity is lacking on the face of the Amended Petition, as the

 Plaintiffs that are citizens of California, New Jersey, and Delaware share citizenship with

 Defendants.


                                         IV.     ARGUMENT

            A. Standard of Review

        As this Court has recognized, as this is an MDL-related proceeding which originated in

 Missouri on the alleged basis of diversity of citizenship, this Court shall apply the substantive

 law of the transferor court, including choice-of-law rules, and the procedural law of the Third

 Circuit. See West Virginia v. Bristol Myers Squibb Co., No. 13-cv-1603-FLW, 2014 WL 793569,

 *2 (D.N.J. Feb. 26, 2014) (Wolfson, J.) (citing Paul v. Intel Corp., No. 05–1717, 2010 U.S. Dist.

 LEXIS 144511, at *163 (D. Del. Jul. 28, 2010); Various Plaintiffs v. Various Defendants (“Oil

 Field Cases”), 673 F. Supp. 2d 358, 363 (E.D. Pa. 2009)).

        A defendant may remove, “any civil action brought in a State court of which the district

 courts of the United States have original jurisdiction.” 28 U.S.C. § 1441(a). “The party asserting

 jurisdiction bears the burden of showing that at all stages of litigation the case is properly before

 the federal court.” Samuel-Bassett v. KIA Motors Am., Inc., 357 F.3d 392, 396 (3d Cir. 2004).

 “The removal statute should be strictly construed and all doubts resolved in favor of remand,”

 Johnson v. SmithKline Beecham Corp., 724 F.3d 337, 346 (3d Cir. 2013) (quoting Brown v.

 Francis, 75 F.3d 860, 864–65 (3d Cir. 1996)).




                                                  4
Case 3:16-md-02738-MAS-RLS            Document 163        Filed 04/10/17     Page 9 of 18 PageID:
                                            2490



        Plaintiffs challenge removal through motions to remand to state court. See 28 U.S.C. §

 1447(c). Grounds for remand include: (1) lack of subject-matter jurisdiction or (2) a defect in the

 removal procedures. See PAS v. Travelers Ins. Co., 7 F.3d 349, 352 (3d Cir. 1993) (citing 28

 U.S.C. § 1447(c)). Plaintiffs instantly argue that subject-matter jurisdiction does not exist as

 diversity of citizenship is not present on the face of the Amended Petition. Diversity jurisdiction

 under 28 U.S.C. § 1332(a) exists only where there is complete diversity of citizenship among the

 parties. See 28 U.S.C. § 1332(a).

            B. This Court has Held that Fraudulent Misjoinder Should be Resolved by the
               State Court as a Matter of Removal Jurisprudence

        The Johnson & Johnson Defendants’ removal arguments rest on the theory of “fraudulent

 misjoinder” as they argue Plaintiffs’ claims do not arise out of the same transaction or

 occurrence and thus should be severed and dismissed to create diversity. See FED. R. CIV. P. 20.

 The Eleventh Circuit first noted that while improper joinder can operate to defeat a defendant’s

 right of removal, the joinder at issue must be “egregious.” See In re Plavix Product Liability and

 Marketing Litigation, MDL No. 3:13-cv-2418-FLW, 2014 WL 4954654, *10 (D.N.J. Oct. 1,

 2014) (Wolfson, J.) (citing Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353 (11th Cir. 1996)). In

 Tapscott, the “egregious” nature of the joinder arose in part from the fact there was “no real

 connection” among the facts of the underlying claims. Id. (citing Triggs v. John Crump Toyota,

 Inc., 154 F.3d 1284, 1289 (11th Cir. 1998)). As this Court has recognized, the Third Circuit has

 not addressed the issue of fraudulent misjoinder. Id. at *11 (citing In re Avandia Mktg., Sales

 Practices & Products Liab. Litig., 624 F. Supp. 2d 396, 412 n. 46 (E.D. Pa. 2009)). However,

 this Court has noted that the “overwhelming number of courts in this district have declined to

 apply the fraudulent misjoinder doctrine.” Id. (citing Kaufman v. Allstate Ins. Co., No. 07–6160,

 2010 WL 2674130, at *8 (D.N.J. June 30, 2010) (“The Court, without guidance from the Third

                                                 5
Case 3:16-md-02738-MAS-RLS             Document 163        Filed 04/10/17      Page 10 of 18 PageID:
                                             2491



  Circuit, and noting other district courts' reluctance to embrace the Tapscott doctrine finds that

  this issue would be better decided in state court, the court in which the parties were originally

  joined.”); Belmont Condo. Ass'n, Inc. v. Arrowpoint Capital Corp., No. 11–02900, 2011 WL

  6721775, at *7 (D.N.J. Dec. 20, 2011) (“This Court declines to include procedural misjoinder as

  an alternative ground for fraudulent joinder.”); In re Paulsboro Derailment Cases, No. 13–5583,

  2014 WL 197818, at *3–7 (D.N.J. Jan.13, 2014); Prudential Ins. Co. of Am. v. Barclays Bank

  PLC, No. 12–5854, 2013 WL 221995, at *10 n. 13 (D.N.J. Jan.22, 2013) (“The Third Circuit has

  never approved extending the doctrine to attack the joinder of Plaintiffs, and some courts refuse

  to do so.”) report and recommendation adopted, No. 12–05854, 2013 WL 1890279 (D.N.J. May

  6, 2013); Reuter v. Medtronics, Inc., No. 10–3019, 2010 WL 4628439, at *5–6 (D.N.J. Nov.5,

  2010) (“Even assuming fraudulent misjoinder in its most expansive form was accepted in this

  Circuit (which it clearly is not), it would not apply here.”) report and recommendation adopted,

  No. 10–3019, 2010 WL 4902662 (D.N.J. Nov. 23, 2010)).

         Further, this Court has reviewed the extensive, persuasive case law on the subject, and

  noted that the application of fraudulent misjoinder, “amounts to an improper expansion of the

  scope of federal jurisdiction by federal courts,” has created “enormous judicial confusion and

  inconsistencies engendered by the doctrine,” and would unnecessarily require, “the Court to

  wade into a thorny thicket of unsettled law.” Id. at 12 (citing Rutherford v. Merck & Co., Inc.,

  428 F. Supp. 2d 842, 851 (S.D. Ill. 2006)). Ultimately, this Court held, in the context of a

  multidistrict pharmaceutical litigation similar to the one at issue herein, that “the issue of

  misjoinder should be resolved by the state court as a matter of removal jurisprudence.” Id. at

  *10. The Court should follow its previous reasoning and similarly hold that fraudulent

  misjoinder does not apply in this instance to create subject matter jurisdiction.



                                                   6
Case 3:16-md-02738-MAS-RLS              Document 163        Filed 04/10/17       Page 11 of 18 PageID:
                                              2492




               C. Missouri State Courts have Concluded that the Joinder of Multiple Plaintiffs
                  in Cases Involving the Same Products and Defendants at Issue Herein is
                  Proper

            This Court has expressly held that the issue of misjoinder should be resolved by the state

  court. Thus, it is relevant to note that the state court at issue, the Circuit Court of the City of St.

  Louis, Missouri, has already determined that the joinder of plaintiffs in actions involving these

  same products and defendants instantly at issue is proper. See Hogans v. Johnson & Johnson,

  No. 1422-CC09012-01 (22nd Cir. Ct. Mo. Mar. 17, 2015) (attached as Ex. 1); Farrar v. Johnson

  & Johnson, No. 1422-CC09964-01 (22nd Cir. Ct. Mo. May 4, 2015) (attached as Ex. 2). In both

  Hogans and Farrar, the court recognized that “[t]he policy of the law is to try all issues arising

  from the same occurrence or series of occurrences together.” (Hogans, Ex. 1, at 20; Farrar, Ex.

  2, at 23). “Events arise out of the same series of transactions or occurrences when they have

  either a common scheme or design, or if all acts or conduct are connected with a common core,

  common purpose, or common event.” (Hogans, Ex. 1, at 20; Farrar, Ex. 2, at 23-24). In

  applying the applicable joinder rules to plaintiffs’ claims in Hogans and Farrar, the circuit court

  stated:

            Here, the . . . Plaintiffs’ claims clearly do present common questions of both law
            and fact as to, inter alia, the origins of Plaintiffs’ ovarian cancer injuries, and
            arise out of the same “series” of transactions or occurrences within the broad
            meaning of Rule 52.05. Plaintiffs allege that they each were damaged by the same
            wrongful conduct of mining, manufacturing, studying, testing distributing,
            marketing, and selling, etc., the talcum-based products in question. For each
            individual Plaintiff’s claim herein, many of the core issues are commonly and
            essentially the same: the same talc miner and manufacturer; the same basic
            injuries; same defect; same alleged duty owed to each Plaintiff; same causes of
            action alleged; same alleged failure to warn in spite of alleged knowledge that the
            Products were carcinogenic; and during the course of litigation it is likely that
            much or even most of the evidence will deal with liability and causation issues
            that are common and shared among all of the Plaintiffs relative to the dangers
            inherent in perineal use of the two talc products at issue; etc.

                                                    7
Case 3:16-md-02738-MAS-RLS              Document 163        Filed 04/10/17       Page 12 of 18 PageID:
                                              2493




  (Hogans, Ex. 1, at 21-22; Farrar, Ex. 2, at 24-26). Thus, the circuit court concluded that the

  Plaintiffs’ claims were properly joined pursuant to Missouri Rule of Civil Procedure 52.05(a),

  and that severance was thus not required (Hogans, Ex. 1, at 22; Farrar, Ex. 2, at 26). The

  Defendants filed Petitions for Writ of Prohibition and/or Mandamus with the Court of Appeals

  for the Eastern District of Missouri and the Missouri Supreme Court, which were all denied (See

  Hogans and Farrar Court of Appeals and Supreme Court Orders (attached as Ex. 3)). There is no

  procedural distinction between the joinder of Plaintiffs’ claims in this action and those at issue in

  Hogans and Farrar. Moreover, the Missouri Supreme Court has recently reiterated that the

  joinder of claims asserted against defendants for the same conduct, including the failure to

  disclose information concerning the harmful effects of a product, is proper under Missouri law.

  Barron, et al., v. Abbott Labs., Inc., No. ED103508 (Mo. Ct. App. Nov. 8, 2016) (attached as Ex.

  4). Thus, as the propriety of joinder is an issue to be decided by the state court, this Court should

  transfer this action to the Eastern District of Missouri with instructions for its remand to the

  Circuit Court of the City of St. Louis, Missouri, for a determination of whether joinder is proper.

  In re Plavix, 2014 WL 4954654 at *10.

             D. Judges of the Eastern District of Missouri and the Eighth Circuit Have
                Consistently Declined Adoption of “Fraudulent Misjoinder”

         While not binding on this Court, as these cases were removed to the Eastern District of

  Missouri, it is notable that the Eighth Circuit and the vast majority of judges within the Eastern

  District of Missouri do not recognize the application of fraudulent misjoinder under the

  circumstances presented here. See Plavix, 2014 WL 4954654 at *13 (“While these California

  decisions [referring to the decisions of federal district courts in California that explicitly rejected

  the doctrine] are not binding on this Court, they are nonetheless helpful because the instant



                                                    8
Case 3:16-md-02738-MAS-RLS              Document 163        Filed 04/10/17       Page 13 of 18 PageID:
                                              2494



  member cases are transferred from California.”). The Eighth Circuit has stated that when

  presented with an argument of fraudulent misjoinder, the court’s sole task is to determine

  whether the Plaintiffs are so egregiously misjoined that fraudulent joinder has taken place; it is

  not the reviewing court’s place to determine whether the claims are properly joined. See In re

  Prempro Prods. Liab. Litig., 591 F.3d 613, 623-24 (8th Cir. 2010). Similarly to this Court, the

  Eighth Circuit has noted that the propriety of joinder is an issue for the state court to decide. See

  id (citing Johnson v. Glaxo Smith Kline, 214 F.R.D. 416, 421 (S.D. Miss. Mar. 29, 2002)).

         In Prempro, the claims of diverse and non-diverse women, or next-of-kin of deceased

  women, were joined in three cases against various manufacturers of hormone replacement

  therapy (HRT) drugs alleged to have caused breast cancer. See 591 F.3d at 617. The district court

  denied the plaintiffs’ motion for remand on the basis of fraudulent misjoinder. Id. In reversing

  the district court, the Prempro Court analyzed FEDERAL RULE OF CIVIL PROCEDURE 20(a)(1),

  which “allows multiple plaintiffs to join in a single action if (i) they assert claims ‘with respect to

  or arising out of the same transaction, occurrence, or series of transactions or occurrences;’ and

  (ii) ‘any question of law or fact common to all plaintiffs will arise in the action.’” Id. at 622.

  Specifically, “[i]n construing Rule 20, the Eighth Circuit has provided a very broad definition for

  the term ‘transaction.’” Id. Rule 20 permits “all reasonably related claims for relief by or against

  different parties to be tried in a single proceeding. Absolute identity of all events is

  unnecessary.” Id. (citing Mosely v. General Motors Corp., 497 F.2d 1330, 1333 (8th Cir. 1974)).

         In light of the Rule 20 standards, which are identical to those of Missouri Rule of Civil

  Procedure 52.05(a), the Prempro Court found the defendants had not met their burden of

  establishing subject matter jurisdiction. The plaintiffs’ claims arose from a series of transactions

  between HRT pharmaceutical manufacturers and individuals that used HRT drugs; the plaintiffs



                                                    9
Case 3:16-md-02738-MAS-RLS                  Document 163            Filed 04/10/17         Page 14 of 18 PageID:
                                                  2495



  alleged that the manufacturers conducted a national sales and marketing campaign to falsely

  promote the safety and benefits and understate the risks of HRT drugs; the plaintiffs’ allegations

  were logically related as they claimed that they developed breast cancer as a result of the

  manufacturers’ negligence in designing, manufacturing, testing, advertising, warning, marketing,

  and selling HRT drugs; and some of the plaintiffs took several HRT drugs made by different

  manufacturers. Id. at 623. Further, given the nature of the plaintiffs’ claims, the litigation was

  likely to contain common questions of law and fact, such as causation and the manufacturers’

  knowledge. Given the likely “palpable connection between the plaintiffs’ claims against the

  manufacturers,” the court could not say that the plaintiffs’ claims had “‘no real connection’ to

  each other such that they [were] egregiously misjoined.” Id. Thus, the Prempro Court concluded

  that, “[b]ecause the joinder of claims in this case does not constitute egregious misjoinder,

  complete diversity does not exist and the district court erred in denying plaintiffs’ motions to

  remand to state court.” Id. at 624.

          A multitude of judges within the Eastern District of Missouri have followed the reasoning

  of Prempro and found that joinder of plaintiffs’ claims alleging injuries arising from the same

  prescription drug product are “sufficiently related to support joinder.” See, e.g., Matthews v.

  Fresenius Med. Care N. Am., Inc., No. 4:14-cv-979-JAR, 2014 WL 3579941 (E.D. Mo. July 21,

  2014) (Ross, J.).2 Plaintiffs request that this Court apply the same reasoning to the circumstances

  of this talcum powder products liability case.


  2
    See also Triplett v. Janssen Pharms., Inc., No. 4:14-cv-02049-AGF (E.D. Mo. July 7, 2015) (Risperdal); Dickerson
  v. GlaxoSmithKline, LLC, No. 4:10-CV-972-AGF, 2010 U.S. Dist. LEXIS 69070 (E.D. Mo. July 12, 2010)
  (Avandia); Liston Ward, et al. v. Janssen Pharms., Inc., et al., No. 4:14-cv-1349-JCH (E.D. Mo. July 15, 2015)
  (Risperdal) see also Hogans v. Johnson & Johnson, No. 4:14–cv–1385-JCH, 2014 WL 4749162 (E.D. Mo. Sep. 24,
  2014) (Talcum Powder); Loyd v. Johnson & Johnson, No. 4:14-cv-1904-RWS (E.D. Mo. Nov. 13, 2014) (Talcum
  Powder); Swann v. Johnson & Johnson, No. 4:14-cv-1546 (E.D. Mo. Dec. 3, 2014) (Talcum Powder); Littlejohn, et
  al. v. Janssen Research & Development, LLC, et al., No. 15-cv-00194-NAB-CDP (Xarelto); Clark et al. v. Pfizer,
  Inc., et al., 4:15-cv-546-HEA (E.D. Mo. Aug. 5, 2015) (Lipitor); Antone Gracey, et al., v. Janssen Pharms., Inc., et
  al., 4:15-cv-407 –CEJ (E.D. Mo. May 4, 2015) (Risperdal); Clayton, et al. v. Janssen Pharms., Inc, No. 14-cv-1927-

                                                          10
Case 3:16-md-02738-MAS-RLS                 Document 163           Filed 04/10/17        Page 15 of 18 PageID:
                                                 2496



          As District Judge Hamilton of the Eastern District of Missouri stated when remanding a

  nearly identical action:

          Plaintiffs have alleged joint action between the Defendants in the manufacturing,
          testing, promoting, warning, marketing, and selling of products containing talcum
          powder. They claim that the main substance in talcum powder has long been
          linked with an increased risk of ovarian cancer, that Defendants at least should
          have known about that increased risk, and that Defendants acted in concert to
          conceal the information from customers. Plaintiffs have all allegedly used talcum
          powder in a similar manner, albeit for different periods of time, and they have all
          allegedly developed ovarian cancer as a result. While the [Johnson & Johnson
          Defendants] are correct that there may be some differences between each of the
          Plaintiffs’ claims, the similarity to the facts in Prempro requires the conclusion
          that there is a logical connection between the claims such that the fraudulent
          misjoinder doctrine, even if it were adopted, is inapplicable.



  JAR (E.D. Mo. Apr. 16, 2015) (Risperdal); Morgan v. Janssen Pharms., Inc., No. 4:14-CV-1346 (CAS), 2014 WL
  6678959 (E.D. Mo. Nov. 25, 2014) (Risperdal); Butler v. Ortho-McNeil-Janssen Pharms., Inc., No. 4:14-CV-1485
  (RWS), 2014 WL 5025833 (E.D. Mo. Oct. 8, 2014) (Risperdal); Orrick v. Smithkline Beecham Corp., No. 4:13-CV-
  2149 (SNLJ), 2014 WL 3956547 (E.D. Mo. Aug. 13, 2014); Davwood v. Pfizer Inc., 4:14-CV-970-CEJ, 2014 U.S.
  Dist. LEXIS 78678, at *5 (E.D. Mo. June 10, 2014) (remanding Lipitor cases); Fenner v. Wyeth, 912 F. Supp. 2d
  795 (E.D. Mo. 2012) (Prempro); Hall v. GlaxoSmithKline, LLC, 706 F. Supp. 2d 947 (E.D. Mo. 2010) (Avandia);
  Pryor v. Fresenius Med. Care N. Am., Inc., No. 4:14-CV-964-JAR, 2014 U.S. Dist. LEXIS 98514 (E.D. Mo. July
  21, 2014); (Granuflo); Couch v. Fresenius Med. Care N. Am., Inc., No. 4:14-CV-955-JAR, 2014 U.S. Dist. LEXIS
  98519 (E.D. Mo. July 21, 2014) (Granuflo); Nesbitt v. Fresenius Med. Care N. Am., Inc., No. 4:14-CV-976-JAR,
  2014 U.S. Dist. LEXIS 98525 (E.D. Mo. July 21, 2014) (Granuflo); Matthews v. Fresenius Med. Care N. Am., Inc.,
  No. 4:14-CV-979-JAR, 2014 U.S. Dist. LEXIS 98526 (E.D. Mo. July 21, 2014) (Granuflo); McGee v. Fresenius
  Med. Care N. Am., Inc., No. 4:14-CV-967-SNLJ, 2014 U.S. Dist. LEXIS 90735 (E.D. Mo. July 3, 2014) (Granuflo);
  Bluestein v. Fresenius Med. Care N. Am., Inc., No. 4:14-CV-973-ERW, 2014 U.S. Dist. LEXIS 86933 (E.D. Mo.
  June 26, 2014) (citing Weaver, et al., v. Fresenius Medical Care N. Amer., Inc., No. 4:14- CV-959-RWS, slip op.
  (E.D. Mo. May 29, 2014)) (Granuflo); Jennings v. Pfizer, Inc., No. 4:14-CV-276-HEA, 2014 U.S. Dist. LEXIS
  81044 (E.D. Mo. May 8, 2014) (Lipitor); Lovett v. Pfizer, Inc., No. 4:14-CV-458-CEJ, 2014 U.S. Dist. LEXIS
  39983 (E.D. Mo. Mar. 26, 2014) (Lipitor); Spiller v. Fresenius USA, Inc., No. 4:13-CV-2538- HEA, 2014 U.S. Dist.
  LEXIS 9727, 2014 WL 294430 (E.D. Mo. Jan. 27, 2014) (Granuflo); Woodside v. Fresenius Med. Care N. Am., No.
  4:13-CV-2463-CEJ, 2014 U.S. Dist. LEXIS 5078, 2014 WL 169637 (E.D. Mo. Jan. 15, 2014) (Granuflo); Aday v.
  Fresenius Med. Care N. Am., Inc., No. 4:13-CV-2462-CEJ, 2014 U.S. Dist. LEXIS 5066, 2104 WL 169634 (E.D.
  Mo. Jan. 15, 2014) (Granuflo); Agnew v. Fresenius Medical Care North America, Inc., No. 4:13-CV-2468-TCM,
  2014 U.S. Dist. LEXIS 2536, 2014 WL 82195 (E.D. Mo. Jan. 9, 2014) (Granuflo); Jackson v. Pfizer Inc., No. 4:13-
  CV-1915-RWS, 2013 U.S. Dist. LEXIS 186545 (Oct. 15, 2013) (Lipitor); Spears v. Fresenius Med. Care N. Am.,
  Case No. 4:13-CV-855-CEJ, 2013 U.S. Dist. LEXIS 82423, 2013 WL 2643302 (E.D. Mo. June 12, 2013)
  (Granuflo); M.B. v. Abbott Labs., Inc., No. 4:12-CV-1250-CAS, 2012 U.S. Dist. LEXIS 152588 (E.D. Mo. Oct. 24,
  2012) (Depakote); T.F. v. Pfizer, Inc., Case No. 4:12-cv-01221-CDP, 2012 U.S. Dist. LEXIS 101859 (E.D. Mo. July
  23, 2012) (Zoloft); S.L. v. Pfizer, Inc., No. 4:12-cv-00420-CEJ, 2012 U.S. Dist. LEXIS 103134 (E.D. Mo. April 4,
  2012) (Zoloft); Madderra v. Merck Sharpe & Dohme Corp., No. 4:11-CV-1673-JCH, 2012 U.S. Dist. LEXIS 22862
  (E.D. Mo. Feb. 23, 2012) (Fosamax); Townsend v. Hoffmann-La Roche, Inc., No. 4:11-CV- 1420, 2011 U.S. Dist.
  LEXIS 98964 (E.D. Mo. Sept. 1, 2011) (Accutane); Coleman v. Bayer Corp, No. 4:10-CV-1639-SNLJ, 2010 U.S.
  Dist. LEXIS 143673 (E.D. Mo. Dec. 9, 2010) (Trasylol); Hudson v. Glaxosmithkline, LLC, No. 4:10-CV-970-TIA,
  2010U.S. Dist. LEXIS 72650 (E.D. Mo. July 20, 2010) (Avandia); Aurillo v. GlaxoSmithKline, LLC, No. 4:10-CV-
  968 SNLJ, 2010 U.S. Dist. LEXIS 68348 (E.D. Mo. July 9, 2010) (Avandia); Douglas v. GlaxoSmithKline, LLC,
  No. 4:10-CV-971-CDP, 2010 U.S. Dist. LEXIS 66234 (E.D. Mo. July 1, 2010) (Avandia).

                                                        11
Case 3:16-md-02738-MAS-RLS              Document 163       Filed 04/10/17      Page 16 of 18 PageID:
                                              2497



          Hogans v. Johnson & Johnson, No. 4:14-cv-1385, 2014 WL 4749162, at *3 (E.D. Mo.

  Sept. 24, 2014) (Hamilton, J.).

          Thus, Plaintiffs’ claims all relate to ovarian cancer allegedly caused by Plaintiffs’ use of

  the PRODUCTS in their perineal regions and Defendants’ knowledge of the risks of such

  injuries. Issues surrounding Defendants’ testing, marketing, and labeling are common to all

  Plaintiffs’ claims. In this instance, Plaintiffs’ claims are related to a single substance, talc,

  manufactured by Defendant Imerys Talc, which was used in the development of talc-based

  products that were manufactured by the Johnson & Johnson Defendants. Thus, the case for

  proper joinder is even more persuasive here than in In re Prempro. Moreover, Defendants have

  failed to present evidence that the joinder of the non-diverse Plaintiffs borders on a “sham.”

  Because common issues of fact and law are likely to arise, Plaintiffs’ joinder does not warrant

  application of fraudulent misjoinder and complete diversity does not exist. Accordingly, remand

  of this action is required. See id.

              E. This Court Should Decline Consideration of Defendants’ Personal
                 Jurisdiction Arguments as the Subject Matter Jurisdiction Analysis is
                 Straight Forward
          Additionally, the Johnson & Johnson Defendants’ Notice of Removal urges the federal

  court to address personal jurisdiction before determining whether subject-matter jurisdiction

  exists. District courts have the discretion to address certain threshold issues, such as personal

  jurisdiction, without a finding of subject-matter jurisdiction. See Ruhrgas AG v. Marathon Oil

  Co., 526 U.S. 574, 583-84 (1999). However, Ruhrgas makes clear this discretion should only be

  used in cases where the subject matter jurisdiction inquiry is “arduous” in comparison to

  personal jurisdiction. Id. at 588.

          In this case, complete diversity is indisputably not present on the face of the Amended

  Petition. The Johnson & Johnson Defendants’ allegations of subject matter jurisdiction rest on

                                                  12
Case 3:16-md-02738-MAS-RLS            Document 163        Filed 04/10/17      Page 17 of 18 PageID:
                                            2498



  “fraudulent misjoinder,” a doctrine that this Court and many others within this District have

  declined to adopt. Again, although not binding on this Court, it is notable that judges within the

  Eastern District of Missouri have remanded similar talcum powder products liability actions,

  specifically finding that the identical subject matter jurisdiction inquiry presented herein is

  straight-forward and not arduous. See Timms v. Johnson & Johnson, No. 4:16-cv-00733, 2016

  WL 3667982, *2 (E.D. Mo. July 11, 2016) (citing Ruhrgas., 526 U.S. at 586-88) (“the Court

  declines to rule on issues of personal jurisdiction first, as the inquiry regarding subject matter

  jurisdiction is not arduous, and the issues of personal jurisdiction and venue would require a more

  fact-intensive inquiry”).   Notably, Missouri state courts have rejected Defendants’ personal

  jurisdiction arguments. (Hogans, Ex. 1, at 4-18; Farrar, Ex. 2, at 4-21). Thus, Plaintiffs request

  that this Court address the issue of subject matter jurisdiction before addressing personal

  jurisdiction, as it is straightforward and not arduous. See Ruhrgas, 526 U.S. at 586-88.


                                         V.     CONCLUSION


         WHEREFORE, Plaintiffs respectfully request that the Court grant their renewed motion

  to remand this action and enter an Order transferring this action to the Eastern District of

  Missouri for the purpose of remand to the Circuit Court of the City of St. Louis, Missouri,

  together with any further orders that this Court deems just and proper.

         Dated: April 10, 2017

                                        Respectfully submitted,

                                        s/ D. Todd Mathews________________
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                                                  13
Case 3:16-md-02738-MAS-RLS            Document 163        Filed 04/10/17      Page 18 of 18 PageID:
                                            2499



                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of April, 2017, I electronically filed the foregoing
  with the Clerk of the Court using the CM/ECF system which sent notification of such filing to all
  registered parties.


                                               _/s/ D. Todd Mathews_________________
                                               D. Todd Mathews




                                                  14
